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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

UNITED STATES OF AMERICA                        CASE NO. 21-cr-00130-02

VERSUS                                          CHIEF JUDGE HICKS

ALEXANDER D PENNINGTON (02)                     MAGISTRATE JUDGE HORNSBY

                                        ORDER

         For the reasons assigned in the Report and Recommendation of the Magistrate

 Judge previously filed herein, and having thoroughly reviewed the record, including the

 written objections filed (Record Document 63), and concurring with the findings of the

 Magistrate Judge under the applicable law;

         IT IS ORDERED that Defendant’s Motion to Suppress (Record Document 55) is

 DENIED.

         THUS DONE AND SIGNED at Shreveport, Louisiana, this the 17th day of June,

 2022.
